Case 4:10-cr-00013-BSM Document 445 Filed 06/23/20 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION DISTRICT COURT

EASTERN DISTRICT ARKANSAS
UNITED STATES OF AMERICA. WN 23 sapgPLATNTLET

   

ve Case No. 4:10-CR-00013-2 BSYAMES
RODNEY D. BROWN — By: BESENDANT
ATTACHHENTS FOR MOTION FOR RECONSIDERATION
COMES NOW, Rodney D. Brown, pro-se Petitioner, is hereby attaching the Request
to Staff as proof of exhaustion of administrative remedies for Petitioner's Motion
For Reconsideration for Motion for Compassionate Release in which this Honorable

Court denied on June 2, 2020. (See: ATTACHMENT A).

Signed and Dated this [lcthasy of June, 2020.

Respectfully submitted,

Rodney D. ne~

Federal Reg. #25766-009

Federal Correctional Complex-LOW
P.O. BOX 9000

Forrest City, Arkansas 72336

CERTIFICATE OF SERVICE BY MAIL

ry
I, Ronen NKrown. certify that on this [Let aay of Suné ;

2020, that I sent first class postage prepaid, or other delivery charges prepaid,

by depositing said documents herein listed with prison authorities of the Federal

Correctional Complex-LOW at Forrest City, Arkansas for mailing through the U.S.
Postal Service, of the foregoing:

ATTACHMENT FOR MOTION FOR RECONSIDERATION
requesting the Clerk of the Court @ UNITED STATES DISTRICT COURT, EASTERN DISTRICT
OF ARKANSAS, CENTRAL DIVISION, Richard Sheppard Arnold U.S. Courthouse, 600 W. Capitol
Ave., Little Rock, Arkansas 72201-3325, to send e-mail notification of such filing to

the following attorney of record using the CM/ECF system, sending a filed stamped copy
to the Plaintiff for his/her records:

Edward Onassis Walker & Christy Averett
edward.o.walker@usdoj.gov, Christy.Averett@usdoj.gov

k Signed and Dated this lathaey of June, 2020.
Rodney D. by 4+ —~_

Federal Reg. #25766-009
Case 4:10-cr-00013-BSM Document 445 Filed 06/23/20 Page 2 of 3

ATTACHMENT A
 

 

 

| (6/8/2020) FOR/Inmate-rasinidé ri -COREGuBS ld SITOCUBROWAARO BNE, BeGe/20" Page Sof 3" "Page 1|

From: AI"BROWN, “!IRODNEY D" <25766009@inmatemessage.com>

To:

Date: 5/6/2020 3:20 PM

Subject: ***Request to Staff*** BROWN, RODNEY, Reg# 25766009, FOR-H-C

To: DeWayne Hendrix
Inmate Work Assignment: Rec AM

*** ATTENTION*™*

Please cut and paste the message indicator below into the subject line; only this indicator can be in the
subject line.

82803623-396f-44c1-9dea-dab25721df77

Your response must come from the departmental mail box. Responses from personal mailboxes WILL
NOT be delivered to the inmate.

***Inmate Message Below***

My name is Rodney Brown | am an inmate currently housed in Helena C. This letter serves as my request
for compassionate release in accordance with program statement 5050.49, Compassionate
Release/Reduction in Sentence: Procedures for implementation 18 U.S.C 3582 (C)(1)(A).

Based upon the recently passed Cares Act, The Corona Virus relieve act, and the directives of Attorney
General Barr, | am seeking your consideration for relief under the new legislation and a transfer to Home
Confinement to complete my sentence.

This petition specifically made based upon "Extraordinary and Compelling" reasons, as set forth in the
First Step Act of 2018 which permits a prisoner's sentence to be reduced based upon demonstrated
rehabilitation which shows that he is no longer a threat to the community. As noted by at least one court,
"When a defendant brings a motion for a sentence reduction under the amended provision, The court can
determine whether any extraordinary and compelling reasons other then those delineated in U.S.S.G.
1B1.13 cmt. n.1(A)(C) warrant granted relief." U.S. v. Cantu no: 1:05-CR-458, 2019 (WL 2498923 (S.D.
Tex. 6/17/19).

While in the Bureau custody, | have maintained a good disciplinary record. | have also engaged in
various educational and psychological programming, Which are on record in the Bureau OF Prison
records. | understand the even if you approve of my request, That further action is dependant upon
judicial action. Thank you for your kind attention to this request
Respectfully,

Rodney Brown 25766-009
